Case 2:12-cv-05471-RGK-RNB Document 35 Filed 06/24/13 Page 1 of 2 Page ID #:635




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 10
                            UNITED STATES DISTRICT COURT
 11
                          CENTRAL DISTRICT OF CALIFORNIA
 12
      UNICOLORS, INC.,                       Case No.: CV12-5471 RGK (RNBx)
 13                                          Honorable R. Gary Klausner Presiding
      Plaintiff,
 14
                                                 NOTICE OF SETTLEMENT
             v.
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 16   ABS BY ALLEN SCHWARTZ; et al.,
 17   Defendants.
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                                 NOTICE OF SETTLEMENT
Case 2:12-cv-05471-RGK-RNB Document 35 Filed 06/24/13 Page 2 of 2 Page ID #:636




  1         TO THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE THAT the parties to this action have reached a
  3   settlement agreement in principle that will resolve all remaining claims at issue.
  4         The parties are currently preparing the written settlement agreement. Once it is
  5   completed and the obligations therein are discharged, which the parties anticipate will
  6   happen shortly, the parties will file a stipulation for dismissal.
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                                                        Respectfully submitted,

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      Dated: June 24, 2013                     By: /s/ Scott A. Burroughs
                                                   Scott A. Burroughs, Esq.
 10                                                Doniger / Burroughs APC
 11
                                                   Attorneys for Plaintiff
                                                   Unicolors, Inc.
 12

 13
      Dated: June 24, 2013                     By: /s/ Matthew Lawrence Seror
                                                   Matthew Lawrence Seror, Esq.
 14                                                Buchalter Nemer APC
 15
                                                   Attorneys for Defendants

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                                      NOTICE OF SETTLEMENT
